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_________________________________________________________________________________

                                                      SO ORDERED,



                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                    IN THE UNITED STATES BANKRUPTCY COURT
                     IN THE NORTHERN DISTRICT OF MISSISSIPPI

       IN RE: HERCHEL AND JUDY MCCLUSKY                                 CASE NO. 19-10498

               AGREED ORDER RESOLVING AMENDED MOTION TO
                  ABANDON AND RELIEF FROM STAY (DK#28)

       THIS DAY, there came on to be heard and was heard the Creditor’s Amended Motion to

Abandon and Relief from Stay (DK#28), and the Court having been advised that the parties have

reached an agreement, adjudicates as follows:

                                                (1)

       That the Court has jurisdiction over the parties and the subject matter herein.

                                                (2)

       That the creditor holds an interest in the following property which secures this debt,

namely, a house and 1.4 acre lot located at 78 Sunset Acres Road, Holly Springs, Mississippi

38635, more particularly described as follows (the “Property”):

       1.4 acres in the Northwest Quarter of Section 26, Township 3 South, Range 3 West,
       Marshall County, Mississippi, more particularly described as follows:

       Commence at a point 796 feet West of the Southeast corner of the Northeast Quarter of
       Section 26, Township 3 South, Range 3 West, Marshall County, Mississippi, thence
       North 1 degrees 02 minutes East 1147.52 feet to the South boundary of U.S. Highway 78,
       thence North 59 degrees 43 minutes West with the South boundary of said Highway
       560.77 feet, thence South 0 degrees 16 minutes West 740 feet to the point of beginning,
       thence South 80 degrees 0 minutes East 223 feet to the West boundary of Sunset Road,
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       thence South 1 degrees 0 minutes West with the West boundary of said road 280 feet,
       thence North 78 degrees 26 minutes West 219 feet to an iron pin, thence North 0 degrees
       16 minutes East 282 feet to the point of beginning and containing 1.4 acres, more or less,
       all as more fully shown and depicted upon that certain plat and survey prepared by Eddie
       C. Boatwright, MLS-1069, dated December 26, 1986, direct reference to which is made
       in aid of this description.

                                                (3)

       That the Debtors shall pay the Chapter 13 plan payments current through August 2019 to

the Trustee no later than August 30, 2019, and if the Debtors fail to remit the plan payments, the

automatic stay provisions of 11 U. S. C. § 362 shall be lifted automatically and the Creditor shall

be allowed to initiate foreclosure against the Debtors’ Property. Should the automatic stay lift,

all communications including but not limited to, notices required by state law, sent by Creditor in

connection with proceedings against the property may be sent directly to the Debtors.

                                                (4)

       Should Debtors become sixty (60) days or more delinquent on plan payments from

September 1, 2019, the automatic stay provisions of 11 U. S. C. § 362 shall be lifted

automatically and the Creditor shall be allowed to initiate foreclosure against the Debtors’

Property. Should the automatic stay lift, all communications including but not limited to, notices

required by state law, sent by Creditor in connection with proceedings against the property may

be sent directly to the Debtors.

                                                (5)

       That if the Debtors’ Chapter 13 bankruptcy is dismissed, the Debtors are barred from

refiling for 180 days from the date of dismissal.

                                                (6)

       That the Creditor is awarded attorney’s fees of $150.00 and costs in the amount of

$181.00. Further, that the Debtors’ Chapter 13 plan shall be amended to pay the attorney’s fees

and costs over the plan term and the Chapter 13 Trustee shall be authorized to amend the plan
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payment as necessary to pay same.

                                                (7)

        That the 14 day stay of Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure is

waived.

                                                (8)

        That the Creditor’s Amended Motion For Relief From the Automatic Stay is hereby

granted in part subject to the provisions contained herein.

        THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the

Amended Motion For Relief From the Automatic Stay of Creditor, Bank of Holly Springs, is

hereby granted in part, subject to the provisions contained herein. Further, the Creditor is

awarded attorney’s fees of $150.00 and costs in the amount of $181.00. Further, that the

Debtors’ Chapter 13 plan shall be amended to pay the attorney’s fees and costs over the plan term

and the Chapter 13 Trustee shall be authorized to amend the plan payment as necessary to pay

same.

                                      ##ENDOFORDER##



 /s/ Bart M. Adams
Bart M. Adams
Attorney for Bank of Holly Springs

/s/ Karen Schneller
Attorney for Debtors

/s/ Melanie T. Vardaman
Attorney for Chapter 13 Trustee

Submitted by:
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